           Case 7:20-cr-00104-NSR Document 30 Filed 12/29/20 Page 1 of 1


'UNITED STATES DISTRICT COURT
 SOUTHERN DISTRICT OF NEW YORK
                       ----·------------------- X ..

 UNITED STATES OF AMERICA,                                         CONSENT TO PROCEED BY VIDEO OR
                                                                   TELE CONFERENCE
                       -against-
                                                                   20 -CR- lOlf (NSR ) ( )

 ANDRE' DECKER
                                       Defendant(s).
------------------X
Defendant __ANDRE' DECKER_ _ _ _ _ _ _ _ _ _ _ hereby voluntarily consents to
participate in the following proceeding via_ videoconferencing or _x_ teleconferencing:

        Initial Appearance Before a Judicial Officer

        Arraignment (Note: If on Felony Information, Defendant Must Sign Separate Waiver of
        Indictment Form)

        Bail/Detention Hearing

_x_     CoAfeFCACC   Before a Juaicial Officer GUILTY PLEA/]         ...

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 Defendant's Sign~(;e
                                                        I ;JJ,
                                                       Defenaant's CounseJ~,S,
                                                                                  .
 (Judge may obtain verbal consent on                                       £./
 Record and Sign for Defendant)

 _ ANDRE' DECKER._ _ _ _ _ __                          _DOMENICK J. PORCO_ _ _ _ __
 Print Defendant's Name                                Print Counsel's Name



 This proceeding was conducted by reliable video or ta=onferencing technology.

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 Date  r
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                                                       l:J.8. Sisti ICL Ja;tgc,~U.S. Magistrate Judge
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